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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No.    20-cr-165 CMA

UNITED STATES OF AMERICA,

      Plaintiff,

v.

GREGORY LOPEZ,

      Defendant.



                                     INDICTMENT


The Grand Jury charges:

                                       COUNT 1

      On or about April 26, 2020, in the State and District of Colorado and elsewhere,

GREGORY LOPEZ, defendant herein, did employ, use, persuade, induce, entice, and

coerce a person under the age of 18 years, to wit: “Minor #1,” a minor child, to engage

in sexually explicit conduct for the purpose of producing any visual depiction of such

conduct, knowing and having reason to know that such visual depiction would be

transported and transmitted using any means and facility of interstate and foreign

commerce and in and affecting interstate and foreign commerce, which visual depiction

was produced and transmitted using materials that have been mailed, shipped, and

transported in and affecting interstate and foreign commerce by any means, including

by computer, and which visual depiction has actually been transported and transmitted

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using any means and facility of interstate and foreign commerce and in and affecting

interstate and foreign commerce.

      All in violation of Title 18, United States Code, Section 2251(a) and (e).

                                       COUNT 2

      Between on or about April 29, 2020 and May 6, 2020, in the State and District of

Colorado and elsewhere, GREGORY LOPEZ, defendant herein, knowingly made,

printed, and published, and caused to be made, printed, and published, any notice and

advertisement seeking and offering to receive, exchange, produce, display, distribute,

and reproduce any visual depiction, the production of which involved the use of a minor

engaging in sexually explicit conduct and which visual depiction is of such conduct,

knowing and having reason to know that such notice and advertisement would be

transported using any means and facility of interstate and foreign commerce and in and

affecting interstate and foreign commerce by any means including by computer and

which notice and advertisement was transported using any means and facility of

interstate and foreign commerce and in and affecting interstate and foreign commerce

by any means including by computer.

      All in violation of Title 18, United States Code, Section 2251(d)(1)(A) and (e).

                                       COUNT 3

      On or about May 6, 2020, in the State and District of Colorado and elsewhere,

GREGORY LOPEZ, defendant herein, did knowingly transport and ship child

pornography, as defined in Title 18, United States Code, Section 2256(8)(A), using any

means and facility of interstate and foreign commerce and in and affecting interstate

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and foreign commerce by any means, including by computer.

       All in violation of Title 18, United States Code, Section 2252A(a)(1) and (b)(1).

                                         COUNT 4

       On or about May 7, 2020, in the State and District of Colorado, GREGORY

LOPEZ, defendant herein, did knowingly possess any computer disk and other material

that contained an image of child pornography, as defined in Title 18, United States

Code, Section 2256(8)(A), that has been mailed, and shipped and transported using

any means and facility of interstate and foreign commerce and in and affecting

interstate and foreign commerce by any means, including by computer, and that was

produced using materials that have been mailed, and shipped and transported in and

affecting interstate and foreign commerce by any means, including by computer.

       All in violation of Title 18, United States Code, Section 2252A(a)(5)(B) and (b)(2).

                               FORFEITURE ALLEGATION

       1.      The allegations contained in Counts 1-4 of this Indictment are hereby re-

alleged and incorporated by reference for the purpose of alleging forfeiture pursuant to

the provisions of Title 18, United States Code Section 2253.

       2.      Upon conviction of any of the violations alleged in Counts 1-4 of this

Indictment involving violations of Title 18, United States Code Section 2251 and 2252A,

the defendant, GREGORY LOPEZ, shall forfeit to the United States, pursuant to Title

18, United States Code, Section 2253, any and all of the defendant’s right, title and

interest in:

               a.    any visual depiction described in section 2251, 2251A, or 2252,

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                     2252A, 2252B, or 2260 of Title 18, or any book, magazine,

                     periodical, film or videotape, or other matter which contains any

                     such visual depiction, which was produced, transported, mailed,

                     shipped, or received;

              b.     any property, real or personal, constituting or traceable to gross

                     profits or other proceeds obtained from such offense; and

              c.     any property, real or personal, used or intended to be used to

                     commit or to promote the commission of such offense or any

                     property traceable to such property.

       3.     The property subject to forfeiture, pursuant to Title 18, United States Code

Section 2253, includes, but is not limited to, the following item: one LG LM-X320MA

cellular telephone with IMEI 358335101997409.

       4.     If any of the property described in paragraphs 2 and 3 above, as a result

of any act or omission of the defendant:

              a.     cannot be located upon the exercise of due diligence;

              b.     has been transferred or sold to, or deposited with, a third party;

              c.     has been placed beyond the jurisdiction of the Court;

              d.     has been substantially diminished in value; or

              e.     has been commingled with other property which

                     cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p) as incorporated by Title 18, United States Code, Section 2253(b), to seek

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forfeiture of any other property of said defendant up to the value of the forfeitable

property.


                                                 A TRUE BILL:


                                                 Ink signature on file in the Clerk’s Office
                                                 FOREPERSON


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